Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 1of 33

Stephen M. Feldman, OSB No. 93267; sfeldman @perkinscoie.com
PERKINS COIE LLp

1120 NW Couch Street, 10'" Floor

Portland, OR 97209-4128

Telephone: (503) 727-2000

Facsimile: (503) 727-2222

Attorneys for Defendants

Jerre B. Swann; jswann @kilpatrickstockton.com
William H. Brewster; bbrewster @kilpatrickstockton.com
R. Charles Henn Jr.; chenn @kilpatrickstockton.cor
KILPATRICK STOCKTON LLP

Suite 2800

1100 Peachtree Street

Atlanta, GA 30309

Telephone: (404) 815-6500

Facsimile: (404) 815-6555

Of Counsel for Defendants

UNITED STATES DIS'TRICT COURT

DISTRICT OF OREGON

NIKE, INC., NO. CV05-541 RE

Plaintiff, DECLARATION OF TIM BEHEAN
-n Support of Defendant adidas-Salomon
AG’s Motion to Dismiss

ADIDAS AMERICA, INC. and ADIDAS-
SALOMON AG,

Defendants.

 

 

1- DECLARATION OF TIM BEHEAN PERKINS COIE LLP
1120 NW Couch Street, 10" Floo
PORTLAND, OnuGas OF 20-4128
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 2 of 33

I, Tim Behean, declare as follows:

I. My full name is Timothy George James Behean, and I am known as Tim Behean.
I am Associate General Counsel, Intellectual Property, for adidas International Marketing B.V.,
which is based in the Netherlands and I have held that position since April 1997. I am British,
and a qualified attorney under the UK legal system (a “solicitor”’). I qualified as a solicitor in
1983. adidas International Marketing B.V. is a wholly-owned subsidiary of defendant adidas-
Salomon AG (“adidas-Salomon”) and a corporate affiliate of defendant adidas America, Inc.
(“adidas America”). I am responsible for all adidas group (“adidas”) intellectual property matters
globally, including the filing, prosecution, maintenance and enforcement of adidas trademarks,
patents and other intellectual property.

2. I am over the age of twenty-one, I am competent to make this Declaration, and the
facts set forth in this Declaration are based on my pezsonal knowledge and on documents
maintained by adidas in the ordinary course of business.

3. adidas-Salomon owns numerous trademarks, registered and at common law, in the
United States, Europe and elsewhere. Among these trademarks is the well known Three-Stripe
Mark, a mark incorporating three parallel stripes of aoproximately equal width and spacing
applied in certain positions to footwear and apparel, «amongst other products. adidas-Salomon ts
the owner of, inter alia, a federal trademark registration, Reg. No. 1,815,956, issued by the
United States Patent and Trademark Office on January 11, 1994, for the Three-Stripe Mark, for
“athletic footwear.” adidas-Salomon also owns numerous additional trademark registrations for
the Three-Stripe Mark covering footwear and various items of apparel including U.S. Reg. Nos.
870,136, 961,353, 1,833,868, 2,016,963, 2,058,619, and 2,278,589.

4. The Three-Stripe Mark was created in 1949 and first used for footwear in that
year, and has been continuously used by adidas for footwear since then. The Three-Stripe Mark
was first used on apparel in 1967 and has been continuously used by adidas for apparel since
then. In the U.S., adidas has extensively and continuously used and promoted the Three-Stripe
2- DECLARATION OF TIM BEHEAN PERKINS COIE LLP

1120 NW Couch Street, 10" Floor

by ‘ ( )b
(Ati 77-300)
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 3 of 33

Mark in connection with footwear and apparel for over four decades. In recent years, annual
sales of products bearing the Three-Stripe Mark have totaled in the billions of dollars globally
and in the hundreds of millions of dollars within the Jnited States specifically. The Three-Stripe
Mark has achieved international fame and tremendous public recognition, and the purchasing
public around the world has come to associate the Three-Stripe Mark with adidas.

5. To the best of my knowledge, adidas has never approached, threatened, or
discussed with Nike the issue of whether the use by Nike of any two-stripe design on apparel in
the United States infringes the Three-Stripe Mark. Other than the present litigation, there are no
pending legal proceedings of any kind in the United States between adidas and Nike (although
there are U.S. proceedings in which adidas and Nike are co-plaintiffs in trademark counterfeiting
cases).

6. There currently is pending litigation ir Germany and the Netherlands between
adidas-Salomon and Nike subsidiaries concerning the issue of whether apparel products bearing
particular two-stripe markings infringe the Three-Stripe Mark under the laws of those countries.

7. The origin of the German lawsuit dates back to February 2004, when a then
member of my department at adidas International, Inc. (Michael Heilbronner) contacted counsel
for Nike via email to discuss Nike’s use of a particular two-stripe marking on women’s athletic
pants which Nike were offering for sale in Germany. A true and correct copy of the initial email
exchange from February and March 2004 is attached hereto as Exhibit 1. We instructed our
outside counsel in Germany to send a formal letter of complaint to Nike when Nike’s trademark
counsel, Ken Kwartler, did not reply substantively to the correspondence from Michael
Heilbronner.

8. The Netherlands-based dispute originated in an April-May 2004 exchange of
correspondence between Nike and Aline Olie, who is a member of my department at adidas
International Marketing B.V. True and correct copies of these letters are attached hereto as

Exhibit 2.

3- DECLARATION OF TIM BEHEAN PERKINS COTE Lip

11720 NW Couch Street. 10" Floor

Pow) AN, OREGON 4 a4] 2 Ah
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 4 of 33

9. On June 17, 2004, adidas-Salomon re uctantly began litigation in Germany and
the Netherlands against subsidiaries of Nike in an attempt to resolve these disputes. Even
following these filings, however, the parties continued to correspond, attempting to seek a
business solution to the problem -- at all times focusing strictly on European markets. On June
18, 2004, Nike counsel Kenneth Kwartler contacted me via email regarding the European
disputes. I replied to his email the following Mondav, June 21, 2004. A true and correct copy of
this late-June email exchange is attached hereto as Exhibit 3.

10. On January 20, 2005, judgment was entered in the German dispute in favor of
adidas-Salomon. A true and correct copy of an English translation of the German Court’s
decision is attached hereto as Exhibit 4. Nike has appealed that decision and the appeal is
pending. The Netherlands action is still pending.

11. The correspondence in Exhibits 1-3 typifies the usual course of dealings and
protocols established between adidas and Nike for dealing with intellectual property matters,
including potential disputes. The companies have cooperated and exchanged information on
many intellectual property matters and, in matters of potential intellectual property disputes, the
companies always have engaged in an informal dialozue in an attempt to work out those disputes.
Pursuant to this protocol, it was my understanding that adidas and/or Nike would resort to taking
more formal legal action only if such informal dialogue between the parties could not resolve the
dispute. adidas has acted on that protocol since I have been employed by adidas.

12. Furthermore, since my time with adid.is, we have cooperated extensively with
Nike on anti-counterfeiting matters, exchanging information and cooperating on legal action
against those involved in counterfeiting, including in the U.S. where both companies use the
same law firm for such work. We have also cooperated on patent matters, for example we have
provided adidas shoe samples and catalogues for use in litigation brought against Nike by third
parties, and Nike has provided us with Nike shoe samples and catalogues for use as evidence in
lawsuits brought against adidas by third parties.

4- DECLARATION OF TIM BEHEAN PERKINS COIE LLP

1120 NW Couch Street, 10" Floor

Pr I 0
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 5of 33

13, There have always been good relations between myself and my counterparts at
Nike who handle counterfeiting and patent matters, and I believe there were always good
relations between my former colleague Michael Heillhronner and Nike’s trademark counsel, Ken
Kwartler. Indeed, it was an important objective for me when I joined adidas to establish and
maintain such relations. In view of the long term cordial relations and cooperation between the
companies on intellectual property matters, it was a considerable surprise to me that these
proceedings should be started and served on adidas without any prior communication with me or
members of my department; and it was a considerable surprise to me also that Nike should
express any concern now about an alleged intention by adidas to start trademark proceedings
against them in the U.S. over the use of two-stripe mirkings on apparel, since the question had
already been asked by Ken Kwartler in his June 18, 2004 email to me, and I had already replied
in my email of June 21, 2004.

14. Paragraph 17 of Nike’s Complaint identifies four actions filed by adidas America
and adidas-Salomon in this Court alleging trademark infringement: Polo Ralph Lauren Corp.
(No. CV04-1124); Abercrombie & Fitch Co. (No. CV04-1866); Redcats USA, Inc. (CV05-211);
and Little Lady Sportswear, Inc. (No. CV05-351). Each of these cases involved claims by adidas
that the defendant’s three-stripe apparel infringes adildas’s Three-Stripe Mark.

15. The apparel depicted in the Complaint in the Polo Ralph Lauren case had three

black stripes extending along the sleeves of an orange jacket:

 

5- DECLARATION OF TIM BEHEAN PERKINS COIE LLP
1120 NW Couch Street, 10" Flows
Poe TLANTE, ORGS OF 208.4128
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 6 of 33

16. | The apparel depicted in the Complaint in the Abercrombie & Fitch case was a
white jacket with three blue stripes along the sleeves and pants with three stripes along the sides

of the legs:

  

17. The apparel depicted in the Complaint in the Redcats case was a black top and

bottom bearing three white stripes:

 

6- DECLARATION OF TIM BEHEAN PERKINS COLE LLe
J 120 NW Couch Street, 10" Floor
Povey LAND, QR) GON 7209-4) 28
(509) 727-2000

(S038) 727-2222

J 21 LS -CUS0/PAUS2050.049 ]
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 7 of 33

18. The apparel depicted in the Complaint in the Little Lady case was blue pants with

three stripes along the sides of the legs:

 

19. To the best of my knowledge, neither adidas America nor adidas-Salomon has
ever initiated a lawsuit in the United States alleging tiat any use of two-stripe markings on
apparel infringes the Three-Stripe Mark. The only lawsuits adidas has filed in the United States
that involve the use of two stripes by another company have been in connection with the use of
two stripe markings on footwear.

I declare under penalty of perjury of the laws of the United States that the foregoing is
true and correct.

Dated: July, 2005.

 

Tim Beliean

DECLARATION OF TIM BEHEAN PERKINS COLE LLP
1/20 NW Couch Street, 10" Floor

Pokreann, Oe SIN Is
ney Srantn min (503) 727-2000

272 32-D05S PADS 2DS0 D0)
18. The apparel depicted i Complaint in the Little Lady case was blue pants with
Clepicted fn tbe Complaint jn tee aie od iment 32 Filed 07/25/05 Page 8 of 33
three stripes along the sides of the legs:

peeweteene a ROE nee a

19. To the best of my knowledge, neither adidas America nor adidas-Salomon has
ever initiated a lawsuit in the United States alleging that any use of two-stripe markings on
apparel infringes the Three-Stripe Mark. The only lawsuits adidas has filed in the United States
that involve the use of two stripes by another company have been in connection with the use of

two stripe markings on footwear.

I declare under penalty of perjury of the laws of the United States that the foregoing is

tme and correct.

Dated: July 2.2, 2005.

Te Rete.

Tim Behean
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 9 of 33

Behean, Tim

From: Heilbronner, Mike

Sent: Saturday, March 06, 2004 12:38 AK}
To: ‘Kwartler, Kenneth’

Subject: RE: Nike 2-Shipe Pant in Germany
hello Ken:

On Monday, when my assistant returns, we will fax two German decisions supporting our
position with respect to this matter.

With respect to the ECJ decision, it speaks for itself. I don’t know if you've read
the decision, but we believe it clearly applies only to dilution-based remedies, and
more importantly, never held that the stripes were decorative. Rather, the Court held
that if the stripes were found to be decorative [or something comparable to
decorative), the dilution-based remedy would be unavailable.

A wide variety of news, trade and professional publications misrepresented the nature
and content of the decision. Our suspicion is that most of these sources did not read
the underlying opinion but, instead, relied on an original erroneous report.

Geers to date, German law is clear on the matter. We would appreciate your
“reconsidering this issue after you've had a chance to review the materials I fax on

Monday.

Best regards.
Mike.

wore Original Mesésage----—

From: Kwartler, Kenneth [mailto:Ken.Kwartler@nike.com}
Sent: Tuesday, March 02, 2004 10:59 AM

To: Heilbronner, Mike

Subject: RE: Nike 2-Stripe Pant in Germany

Hi Mike -

Thanks for your e-mail. I enjoyed meeting Mei-Lan at this week's INTA program ~- our
companies Lace similar blessings and headaches.

1 appreciate your bringing this matter to my attention in this manner, in light of our
ongoing working relationship. My "jurisdiction" as trademark counse), is worldwide, so

&r do handle matters in Europe, and I’m happy to geal with you on this.

You've ransed Adidas’ objection in Germany to a Nike pant preduct that bears two
stripes. 1 am unaware that Adidas has claimed or established rights to the two-stripe
pattern that you've cited here, which is widely used by others.

I understand that Germany is a major market for Adidas, and that you have found German
courts particularly hospitable to your past claims. I would like to review any
matexyial that you can provide supporting Adidas' proprietary claim to a two-stripe
design, such as the ruling to which you alluded.

{’d also be grateful if you would address the ongoing viability of any such ruling, and
your position overall, in light of the defeat that the European Court of Justice
recently handed Adidas in what appears to be a similar case. As I understand it, the
ECJ rejected your effort to prevent Fitnessworld’s use of a two-stripe design on
apparel. The ECJ characterized such stripes as "simple," "Long-accepted” and "common™
apparel “decorations and motifs," and stopped Adidas from enforcing its trademarks in
any manner that might preclude others’ use of stripes in a nhon-source indicating
fashion.

J look forward to reviewing this material, anc will endeavor to reply promptly
thereafter.

Best regards ~ Ken
Exhibit 1

Page 1 of 2
Behean Declaration

 

 

 

2008) 1
” INI S¥CId¥ S8BTOL¥ O2 TC XVA 8O:BI SO, So/bD
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 10 of 33

Ken Kwartler

Assistant General Counsel
Nike Inc.

One Bowerman Drive, DF4
Beaverton, OR 97005

(503) 672-3042 (ph)

(503) 646-6926 (fx)

sone Original Message----~

From: Beilbronner, Mike [mailto:Mike.Heilbronner@adidasus.con])
Sent: Friday, February 27, 2004 2:16 PM

To: Kenneth Kwartler (ken. kwartler@nike.com)

Cc: Heilbronner, Mike

Subject: Nike 2-Stripe Pant in Germany

Hello Ken:

I hope all is wel] across the river. My good friend Mei-lan Stark at Disney
mentioned that she enjoyed meeting you last week in Charleston.

I'm writing about another business/TM issue that has arisen for us, this
time in Germany. Attached is a photo of a 2-stripe warm-up pant offered by

Nike in Germany. The information on the hangtag is as follows:

WOMEN’S cs 7
FEMME,

295538 010 GEX

It is a tracksuit pant with JOST DO IT heat transferred onto the side of the
leg.

As you can imagine, Germany is one of our strongest and most impoxtant
markets. Not coincidentally, we also have an extremely strong trademark
position in Germany, including a judgment supporting our right to prevent
athletic pants with 2 parallel bands running down the legs. If you'd like,
I would be happy to send you a copy of an English translation such a
decision involving the "C&A” company in Germiny.

I know you don’t handle matters in Europe, bnt given our past dealings and
nutual desire for an ongoing cooperative relutionship in the IP area, 1]
thought it best as an initial matter to contuct you about this.

In order to avoid an unnecessary conflict, ws would appreciate Nike's
agreement to withdraw this product from the (serman market.

gN
: 43,
Of course, I would be happy to discuss this further with you, or Ge

alternatively, put you or another attorney at Nike in touch with our counsel
in Europe.

Thank you for your attention to this matter. Best regards.
Mike Heilbronner

Exhibit 1
Page 2 of 2
Behean Declaration

 

 

coo “INT S¥UIGY Beetoch os TE X¥d LO-6l SO, SO/bD
an “a rg ix

23

rn
AToe..

 

bt Lend bene Kenercsid

&

Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 11 of 33

aO30as Inter ratings) Mar halted EY.

at,

}

edides Sntcroafoml Merting BV., P.O. Box 69003, 1080 CA, Aaerertarn, The Molterhosls

 

 

 

Nike Benelax BV uiides jnterrational M mbeting BIV.
Colossenm 1 De Pringertof _l
1213 NL Hilversum Kmingia Wibelminegiein 30
1069 KR Amet=rinzn ;
“The Nethe-bundls

 

Phere 1131} 2-473.4558

Fort pp O4P-20NG

Sent by Pax prior to Mailing: 035 626 92 55 Bernall pline odig/iadidar rd
Your reference Yortr tateer of One reScrome Date
V 3042 BOL 27 Age, 2008

RE: Nike shorts and pants with two striped markings

Dear Sirs,

As you will certainly be aware, the adidas Group jy ths owner of the well known "3-Stripes” trade
mark device. This mack has been used for more then ‘ifty years on footwear and epparck end is
registered world-wide, including im the Benclux (fe. Senehx tm reg.nos. 001.340 and 0320482 and
by international t.m. reg nos. 414.034 and 414.037). ‘Ye enclose for your reference a copy of these tm.
registration certificates (amex 1).
adadas has recently become aware that you have used in the course of trade in the Benclux, clothing
products which bear two striped markings in a manner which we consider to bo confusingly similar to
our "3-Stripes" trade marks. In addition, the use of these striped markdags is without dup cause arid
takes unfair advantage of and/or is detrimental to the distinctive character and the repute of our "3-
Stripes” trade marks. For your convenience, ! attach a picture of the two products: a pur of pink shorts
with two contrasting white stripes (apnex 2) and a pair of red pents with two contrasting white stmpes
(aumex 3). |
adidag has not given you any consent to market these clothing products or other identical or singilhr
poods which bear signs which are identical or siorila to the "3-Stripes” trade marks of adidas. In jour
opinion, tho above-mentioned gacments constitute a lear infregement of our exclusive rights. Ypur
dealing in these infringmg goods bas caused damage to sridas. This damage consist of loss of ixjcome
end detriment to the distinctive character and repute of the well-known "3-Stripes” device of adidas.

.
We are prepared to ecttle this pratter out of count, on the conditioa rbat you confirm in writing that you:

\. _-will cease and desist from any further infringement to the trade marks of ailidas, such at the
peaalty of € t.000,- per day.

2. will provide the following information, which will have to be substantiated by (clearly re hte
copies of) all relevent documenta of !
1
Charube: of Cocinerts
Amstodam mm. 38522582

VAT ro i
NLSGRBY DGB!

 

 

 

ZEEP BL OCT -S GL WEG as abe” BH6L0z 0% FE wary

Exhibit 2
Page 1 of 7
Behean Declaration

 

“INI S¥a°ay¥ G8B10L) OZ IC Iva LO:eT SO. So/PO
Case 3:05-cv-00541-BR Document 32 _ Filed 07/25/05 Page 12 of 33

!
|
|

a.

a} the total amount of infringing goods wisich you have produced and/or purchased mar
ordered, but which has not yet been delivered, as wel] as the total amount of mfringing
products that you still have in stock, specified by article and supplier,

b) the total amount of infringing goods wtich you have already pold and/or distributed;

8 foc ae ‘age est Uns.

 

3. will deliver up the inftinging peodacts for destruction and that you will arrange for destruction
of ths remaining stocks of infringing goods urder supervision of a bailiff, who will prepar¢ an
atficial report of this destruction, which will be sent to adidas. You will agree to bear all chsts
of this destruction and the services of the bailiff. I

£.g
+

As mentioned above, we hope to be able to settls this matter amicably. However, in the event
fail to comply with our demands by 12 May, 2004, we reservo the bght without forther nobrce to }

commence proceedings for trade mark infringement against you in the Benehrx
T will send you this letter by (registered) reail and by fax.
Yours faithfully,

ous

A. Olic .
Intelicctual Propexty Department
adidas Intemational Marketing BY

2

wm

2

 

Ble lke ke ke ld ee ht

an!

ba 25 93
ee

 

kL

CSBP Bh POOT-S-B1 “eg £9 -atre GIGLOLY OZ LE ‘Wo
Exhibit 2
1 Page 2 of 7
: Behean Declaration

soo Py “INI SVdIa¥ 8ssToOlr O2 T€ XVA ZO°BT Sc. So/to
05-cv-00541-BR Document 32 Filed 07/25/05 Page 13 of 33

Case 3

finwen, 2?

 

bee tet

Oo
a
&
3
a
&
E
a
»
&
3

 

Exhibit 2
Page 3 of 7
Behean Declaration

S$o/bo

S86toOLr O& TC XVA 8O:BT Sa.

SY¥YQICY

“INI
Page 4 of 7
Behean Declaration

GOBICLP OZ ig Wag

eg eBag

ESEY SE POSE A

oO
o
_—
oO
Tt
4
®
©
oO
LO
©
—
Ko)
N
—
Ne
oO
TO
2
re
N
9
_
Cc
®
=
5
oO
oO
QA
oO
a
a
Tt
LO
oO
9°
>
°
LO
oO

Case 3

a eet

 
 

Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 15 of 33

 

 

 

 

 

 

1 usvizsas nod: 2t FAX 503 671 5777 ooz
4 we
i
i May 12, 2004
Vi 1" clase
‘ Ms. A, Olic
“ ToreNecmal Property Depaxtment
Adidas Intemational Markoting BY
- Xoningin Wilhelminaplein 30
; a) 1062 KR Amsterdamn
, The Netherlands
J Dear Ma. Oe

Lam seplying to your April 27, 2004 letter to Niki: Beneiox BY-

Your letier contends that Adidas’ “3-stripes” updemark device exteads beyond ib stated
| bounds, and entitles Adidas to object to Nike’s ure of a common two-stiipe design motif

EN ET ee et eee oo

on prodocts clearly labeled as emanating from Nike.

You contend thet such decorative ose of stripes infringes Adidas” nights, and takes unfair
atlvantags of and/or is detrimental to your tradeutark’s distinctive charecter and .
reputation. Adidas thus demends that Nike cease farther distribution of an unspecified ,
range of products thar Adidas might consider objectionable, deliver them. up to you for

oem eee

.

of corporate policy. We ore committed to the ongoing viability of inteamational
trademark laws. Moreavet, we mcognizd Adidas’ trademaik rights to certain specific
three-stripo designations, aod have no interest ip using another’s trademerk, particularly
given the great fame andi popularity of onr own.

q Joetruction, and pay you unspecafied sums mlating theroto. .
3 Nake disagrees with these sweeping contentions, and must reject your onerons demands.
eS : ’
7 Let me begin by noting thet Nike respects ofbers’ inte!lectoal property tights as a meatier
‘

ied

Wo are also xuindful, however, that stripea are perhaps the oldest and most widely-used
design clement knows to burnamkind. This aimple md common element basbecn
ubiquitous for centuries in creative works from act to architecture to apparel.

RIG, 1S. ONE BOWSLIMAN DRIVE, ARAVERTON, OF 97005-0453 TEV 502-871-0453

KENT wm. A WARTLER ASSISTANT GEHERAL COUNSEL OFNECT DIAL SOS -671-3042 FAR 502.085.6925

a .

12/08 'O§ WHD 22:67 LTX/RK NO 7704) prove
}

Site)

 

 

——+»

ZSAPBL POOSGEL FRO 0a ielled «= REMAP OZ LE Wy
Exhibit 2
Page 5 of 7

. Behean Declaration
INI SVGIdY O8BTOLP OZ TE XVA OT:8T SO. So/Fo

aa

s00R)
pieee)

&
if

t ia =

CFR

E8si2/04 x33 Ft FAX 3603 671 5777

7

goo

Case 3:05-cv-00541-BR

 

 

 

Ma. A, Olie
May 12, 2004
Pags 2

Stipes commonty adom 9 wide sray of modem products - particularly sparts apparel] -
AS conamentation and cmbeitishment, not a» an indication of socrce. They ae widely
recognized and accepted decorations and motifs. (As such, they differ considerably from
a trily unique aod distinctive commercial syasbol sech as Nike’s own world-famons
Swoosh Design rademark) Henes, your mark's scope of protection can hardly extend to
different striped desipn patterns.

We are aware that Auidas has recenity sought to expand its proprictary claims to these
common design claments throngh a questionable casspaign of litigation against others.
"You spparantly contend thet a broad mmge of embe! ishing sinipe designs now vioksre
your righta, and sock to linmit shexply othes’s ability to so desten their works.

While we strive to respect your te tredemark riph's, we belicve that it is equally
important to preserve the freedom of Nike and othess to continue the historical use of
stripes 29 design sleanents. As soch, we contend that your claims ovesstep considerably
the actual extent of your limited rights to these common motifs. Mozeover, your efforts
to block others from using these motifs misusc intelectual property laws in a manners that
may restrain fair trade end free competition.

The goods to which you object here are wonnistakably identified 2s Nike products. Each
prominently bears the famous Nike Swoosh Design trademark, which is one of the
world's moet recognized commercial symbols. Each also prominently bears our NIKB
rrademark to indicate Nile as the prodact’s somce.

hia very unlikely that anyone who encountars these products would believe that they
cramate from any entity other than Nike. Tho decarative atripes that appear on the
product are similsr to those of litesally hundreds o7 other apparel itews of nnmerovs
mannfactnrers, schools and teams, and we do not belicvo that they will be linked to
Adidss, Nik» did not take unfair advantage of your actual tademeck, por do we belicve
that the adornment has a dibitive or detrimental impact on your rack or its reputation.

Moxtover, we believe that your contmntions would have the practical effect of texminating
the conrases-old decorative use of = common deal gn feature in connection with any type
of upefnl object that you yourselves may manufacture. ‘We do not read intellectual
property law to confer auch sweeping rights upon anyuor, nor to enable any modern
company to block the ongorng docprative or ertistic nso of a beloved design motif.

To the extent that Adidas objects 10 others’ docanitive us4 of stripes as harmful to its
business, we contend that this is simply a risk thal you assumed by selecting such a
longstanding ond common desiga clrzpcut as the foundation for your commercial
identity. You cannot now seck to farcclose other’ ongoing decorative use of stripes
merely by aspexting that same may occasionally “link” these age-old, public domain
elements to your company.

Document 32 Filed 07/25/05 Page 16 of 33

}
Bousj

FO rr a hem nO te et OE Fon me re Se et om et oe me,

Vee ee

C

|
i
12/05 'f4 WED 22:07 [TX/RL MO 7704) Boos

TSB BL POO} =O sae 8HP] «= BBB Loeb OS 1S Wel ~

 

Exhibit 2
Page 6 of 7
Behean Declaration

 

 

“INI SvaTC¥ SSstOLy OZ TC XVa IT:6T SO, SO/FO
Case 3:05-cv-00541-BR Document 32 _ Filed 07/25/05 Page 17 of 33

te

aN
‘

a

 

 

 

 

 

 

however, oppose any effort to raft the very curmey of modern design. Accordingly,
we yeject both your overbroad claims and sweeping demands.

We

Very milly yours,

| 0572/04 . 18:21 FAX 803 87L B777 boos
: : Ms. A. Olie
z May 12, 2004
p |

i
i a Wa will respect your trademark rights within accepicd and reasonable bounds. We wil, ’
5

re
zfo.

8
E
F

til

wy
&
2
8
a

bested

 

Bind

o

12705 '04 WED 22:07 [TAU/RI NO 7704) obs

wae ee eee ten ee ne ee ae
ena i ee ne mt te ee em er emt tes . . —_

ZSGY'S) POOT-—S EL ARG Br oa B9SLOLb OS LS way
Exhibit 2
Page 7 of 7
oloR Behean Declaration

; “INI S¥dIav SeeTOZh Oz Ye XVd Trsei So. soso

a *
at
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 18 of 33

Rodal, Maya

From: Behean, Tim .
Sent: 21 June 2004 18:37

To: 'Kwartier, Kenneth’

Subject: RE: Nike matter

Hello Ken,

Thanks for your mail. I appreciate your willingness to discuss this matter, and I
should like to repeat straightaway that it is our strong preference to settie this
matter amicably if possible.

Y think, though, that you drematise a little the claim we arg making. We are seeking
that Nike withdraw certain specific items of apparel that we have Sdentified, having a
2 stripe marking. We seek this withdrawal in Eurose - we have made formal protests in

Germany and the Netherlands because that is where we have identified the products on
sale.

The tone of your mail, for instance your reference to the 2 stxipe marking Nike is
using as “fundamental, longstanding and commonplace”, suggests that there is a
significant commercial issue at stake here for your company. We are, however,

GPstruggling to understand what this might be. As you point out, you like us produce many
‘thousands of apparel designs (and no doubt some of these have used stripes in ways that
have nothing to do with us}. If the items we have complained about are, to you, just
one design motif out of the huge number that are available, why ia it such a
fundamental issue for you to use a different design? Although you say you have used
this 2 stripe marking before in Europe, we are certainly not aware of this.

I shovld like to comment on the main points that you raise against us, namely your

claim that the 2 stripe marking is a common design, and that the use of the swoosh on
your products avoids confusion,

Whether or not the 2 stripe marking is a common design is a question of fact, depending
on the perceptions of consumers country to county. It is the same with trade marks:
their strength, reputation associated with them, and the propensity for confusion or
association for example are all matters that can vary from country to country,
depending on

consumer perceptions. This has been confirmed by the European Court of Justice in
particular in Fitnessworld. The question of wheter a sign is associated with a trade

mark, or seen as only decoration, is a matter of fact, to be determined by the national
courts.

o what are the facts in the countries we are concerned with? In our favour are the
a findings and survey results. On your side, you assert it but have provided no
evidence to svpport your claim. If you have survey or other good evidence, I should be
qrateful to review it, but in the circumstances your assertion by itself is not very
persuasive. You refer to military and service industry uniforms, and whilst I would be
interested to see what Dutch, German or other European uniforms you have in mind which
pre-date the creation of our trade mark, I just do not see the relevance to sport
products. You refer to use of 2 stripe markings by other companies on sports and casual
products, and I accept that there has been usage of 2 stripe markings by others. I
believe we have been diligent in protesting infringements of our rights, and as a
result we have litigated with a number of companies in connection with the use of
striped markings. The majority, though, have settled with us, no doubt recognising the
many other uses of stripes they could make in alternative designs. The fact that others
infringe does not make the infringing use a common design available to all to use,

If your strategy is to try to jdentify as many uses of stripes as you can in support of
your assertion, then please be aware that thig has been done before, as you will have
seen from the case reports, but unsuccessfully.

You also seem to believe that in some sense our trade mark is fatally flawed or
weakened, because you gay it is based upon a pre-existing commonplace design. Whilst I
dispute strongly your assertion about the origin of our trade mark, I think you have
missed the point that whatever its origins, our trade mark is now extremely strong and
well known. There axe many good examples of famous trade marks with apparently humble
origins: the letter M and the number 5, commonplace features of our language, have been

i
Exhibit 3
Page 1 of 4
Behean Declaration

coh “INI SY¥Q7d¥ esétozy O2 TC Xv ZT:81 SO. SO/PG

 

 

 
—

Seidel ad tT in Sa nh em ae

Jot

sito

toh aa ee

 

seeder mere

Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 19 of 33

    
  

made into famous trade marks by McDonalds and Chanel; the Levi's tab might have been
label; the Burberry check presumably derived ‘rom decorative check; and your own swoosh
no doubt derives from the check mark, a commonplace commercial symbol to indicate
appreval. But the origin of these marks does «ot weaken them, or make it more

acceptable for others to use similar marks.

To emphasise again, our trade mark is nct a generalised use of stripes. It comprises
stripes

* that are parallel;

at particular locations on apparel;

of particular proportions - width and spacing;

in contrasting colours or materials;

3 in number.

* &€ t

Nike has chosen to use a stripe marking that reproduces all these features of our trade
mark, using one less stripe. I should add that we would be similarly concerned if you
were to use those features with the addition of a stripe.

You have also emphasised the presence of the swoosh on your products. We do not think
this is a serious argument legally or commercially. As I expect you are aware, trade
mark law in Europe does not generally allow a defendant to avoid infringement by
placing his own name or trade mark, even a well known trade mark, on products that
would

otherwise infringe. In the case of the apparel in issue, it is clear that the swoosh
will not be visible to consumers at all times that the stripe marking is visible, so 5
there could well be initial interest confusion at point of sale, as well as post sale SP
confusion when the products are being worn. And whilst you reject association as a
basis for complaint, I say simply that that is the law in the EU, as determined by the
highest lecal authority short of the legislature.

I hope these comments will help you to understand better our claim. 1 have not
responded specifically to your xequest that i define the scope of our trade mark
rights, and I think that as a trade mark lawyer, you will understand thet it is not
feasible to do this exhaustively. Infringemests of "adidas" vould include adidos,

addidas, and s0 on, but I doubt I could produce a list that would exhaust the ingenuity
of infringers.

If you think it would be helpful to discuss this matter, or to meet, please let me
know. In the meantime, if you are not already aware, we have now initiated proceedings
in the Netherlands and Gemmnany.

Tim

weost Original Message--~-~-

From: Kwartler, Kenneth (mailto: Ken. Kwartler@nike.com)

Sent; 18 June 2004 04:59 i
To: Tim-Behean@sdidas.ni

Subject: RE: Nike matter

Dear Tim:

I am writing to reply to your e-mail correspondence and to comment on the recent
exchanges between our counsel in Germany.

I am sorry to note that We remain very far apart on Bdidas’ demands that Nike (and
others} cease using a fundamental, longstanding and commonplace design motif.

As noted in my earlier letter to your colleague A. Olie, Nike respects others’
intellectual property rights as a matter of corporate policy. We are strongly
committed to the ongoing viability of international trademark laws. Moreover, we
recognize and respect Adidas' rights to certain specific three-stripe designs in
connection with particular goods.

Nike has produced thousands of different apparel designs during my five years as
trademark counsel here. Adidas has contacted me with concerns about fewer than a dozen
of these. And while we have disagreed with your ooncerns on several occasions, we have
been responsive when we judged them well founded. Our discomfort with one apparel
design that you brought to our attention last year led os to withhold a significant
volume of product from the market.

2 Exhibit 3
Page 2 of 4
Behean Declaration

rio “INT SYCIGY BSSTOLy O2 Tl XVd ZTBI So. SO/bO
 

Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 20 of 33

   

RUieas'’ curcent demand, however, far exceeds the scope of your intellectual property
rights, and threatens fair trade and free competition in the athletic apparel industry.

Stripes were in common use as a design motif long before Adidas and its trademarks came
into being. As my earlier letter noted, decorative stripes have adorned a wide array
of products for centuries. Moreover, stripes were widely employed to embellish sleeves
and pant legs long before Adidas began using its three-stripe trademark in this manner.
Ample evidence of striped sleeves and pants can be found from military and sexrvice-
industry garb to school and sport uniforms and casual apparel.

Adidas choze this established and commonplace design element as the foundation for its
commercial identity, notwithstanding its extensive pre-existing use in apparel design
and ornawentation. In our view, this precludes you from objecting to others' ongoing
decorative use of stripe designs. To assert otherwise offends the fundamental

principle of the public domain, let alone the viability of free expression in
commercial design.

Your current demands are also disturbing by vir ue of their abruptness and lack of
definition.

Nike, like most other athletic apparel manufacturers, has used stripes for decades to
adorn product. We have used the particular two-stripe decorative pattern at issue here
for years as well. Adidas has never before objected to it.

SProur acquiescence in our practice was entirely consistent with ovr own view that your
rights extended only to particular three-stripe patterns. Moreover, the widespread

availability of other apparel products bearing similar decorative two-stripe motifs
strongly reinforced this view.

Now, abruptly, you demand that we withdraw certain products based upon your new and
expanded trademark claims. Your sudden change in posture seems to owe principally to a
favorable local court ruling, which, as our counsel's attached letter indicates, is of
dubious applicability here. (Among other things, that defendant did not address the
weakness in your position caused by other well-known brands' use of the same design
that you object to here, nor emphasize that a purely "associative™ connection does not
constitute a likelihood of confusion under German trademark law.)

Even more troubling than your recent change in position is the uncertainty that it
would inflict upon to the marketplace. Your three-stripe trademark is relatively easy
to understan@ and respect. But the aggressive stance you now assert goes well beyond

this. You now object to a commonplace, longstanding two-stripe motif because it might
be merely “associated” with your company.

If you thereby contend that a two-stripe design now violates your rights, what about
other common stripe designs? Would a single~s ripe design also now offend? Four

G@ppsreipes? Five? Must all other companies simply cease using stripes on sleeves and
pants entirely?

The geographic scope of your claim is similarly vague. In previous communications,
Adidas has challenged our products in only Geraany and The Netherlands. Oo you
consider stripes off Limits to others only in these locations? Worldwide?

As you well know, a trademark cannot be a moving target. Its owner must clearly
articulate and define its Limits so as to build recognition, guide competitors and
honor the public domain.

>
Yet Adidas now seems to promote uncertainty as to the extent of its claimed rights, as
my August 5, 2003 letter to Mr. Heilbronner asserted. You then appear to wield this
uncertainty to inhibit competitors and expand your hold on stripe patterns. As noted
above, this approach offends not only trademaxk law, but the principles of fair trade
and free competition.

Nike cannot abide any effort by any competitor to remove from the language of modern
comercial design any common and longstanding design element. We thus continne to

reject your demands, while urging you to adopt a more reasonable, legally supportable,
and more clearly-defined position.

in this spirit, we would be grateful 3€ you would articulate for us: (a) whet you now
consider to be the extent of your intellectual property rights regarding stripe
patterns, and {b} the geographic extent of these new claims. We will be happy to

 

 

3 Exhibit 3
Page 3 of 4
Behean Declaration
Sto nn ee —
“INI S¥OIQY

S86TOLb Of Tl XVA CT'BT GO. Sovbo
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 21 of 33

= one

respond in the hope of reaching a constructive resolution to our differences here.

Very truly yours,
Ken Kwartler

Assistant General Counsel
Nike Inc.

One Bowerman Drive, DF4
Beaverton, OR $7005

{503} 671-3042 (ph)

(503) 646-6926 (fx}

 

I

4 Exhibit 3
Page 4 of 4
Behean Declaration

atop) . pe
INI S¥GIdY¥ O861O2b OZ Te Xv CTieT $0. Sovto

 
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 22 of 33

Translation
REGIONAL COURT COLOGNE
IN THE NAME OF THE PEOPLE
JUDGMENT
Pronounced on January 20, 2005
84 O 74/04

As Clerk of the Court

In the law suit

of adidas-Salomon AG, legally represented by the management board, consisting of
Herbert Hainer, Glenn Bennet, Michel Perraudin, Robin Stalker, Erich Stamminger,
Adi-Da@ler-Platz 1 - 2, 91074 Herzogenaurach,

Plaintiff,

- Counsel: Attorneys-at-Law Lorenz, Seidler and Cossel in Munich -

versus

4 Nike International Ltd., Bermuda, with the Germany branch of Nike International

Ltd., represented by the management board, Hessenring 13 A, 64546
Mérfelden-Walldorf,

2 Nike Retail B.V., 1213 Hilversum, Netherlands, with the branch establishment
NIKETOWN Berlin, branch establishment of Nike Retail B.V. in Berlin,
represented by the management board, TauentzienstraBe 7 B/C, 14057 Berlin,

Defendants,

- Counsel: Attorneys-at-Law Taylor, Wessing in Harmburg -

after the oral hearing of October 13, 2004, through the Presiding Judge Engmann at
the Regional Court and the associated Commercial Judges Boing and Stankiewicz-
Schetzka the 4th Division for Commercial Matters of the Regional Court Cologne
held:

| The Defendant to 1. is sentenced, under penalty of an

administrative fine of up to € 250,000.00 to be assessed by the

Exhibit 4
Page 1 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 23 of 33

-2-

Court for each case of infringernent, as a substitute arrest, or of

an arrest of up to 6 months, to cease and desist from

offering articles of clothing as depicted below, or putting
them on the market or siocking them for these purposes,
and/or from importing or exporting them as well as from
advertising them, which are provided with a stripes marking

as depicted:
(illustrations of articles of clothing)

il It is found that the Defendant to 1. is obligated to compensate the
Plaintiff for all damages which have resulted for the Plaintiff from
acts under item |. since April 10, 2004, and still will result

therefrom.

il. The Defendant to 1. is sentenced to provide information to the
Plaintiff on the extent of acts under item 1. made by it since April
10, 2004, in particular to provicle information on the origin and the
channels of distribution of said goods (the name and address of
the manufacturer, of the supplier and other previous possessors
of the goods, the commercia purchasers and or customers) as
well as on the quantity of the goods manufactured, delivered,
received or ordered, furthermore to provide information and
render account on the turnovers obtained with said goods (Euro
and number of items) as well as on the profit made by the
distribution thereof, by itemizing the individual cost factors, and on
the advertising made (advertising media, circulation figures, dates
of publication, circulation areas), as well as to submit purchase
vouchers and sales vouchers, invoices, delivery notes, order
confirmations and other documents concerning the goods in

question.

\V. The Defendant to 2. is sentenced, under penalty of an

administrative fine of up to € 250,000.00 to be assessed by the

Exhibit 4
Page 2 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 24 of 33

Vi.

Vil

-3-

Court for each case of infringement, as a substitute arrest, or of

an arrest of up to 6 months, to cease and desist from

offering articles of clothing as depicted below, or putting
them on the market or stocking them for these purposes,
and/or from importing or exporting them as well as from
advertising them, which are provided with a stripes marking

as depicted:

(illustrations of articles of clothing)

It is found that the Defendant tc 2. is obligated to compensate the
Plaintiff for all damages which have resulted for the Plaintiff from
acts under item J. since April 5, 2004, and still will result

therefrom.

The Defendant to 2. is sentenced to provide information to the
Plaintiff on the extent of acts under item 1. made by it since April
5, 2004, in particular to provide information on the origin and the
channels of distribution of saic) goods (the name and address of
the manufacturer, of the supplier and other previous possessors
of the goods, the commercial purchasers or the customers) as
well as on the quantity of the goods manufactured, delivered,
received or ordered, furthermore to provide information and
render account on the turnovers obtained with said goods (Euro
and number of items) as well as on the profit made by the
distribution thereof, by itemizing the individual cost factors, and on
the advertising made (advertising media, circulation figures, dates
of publication, circulation areas), as well as to submit purchase
vouchers and sales vouchers, invoices, delivery notes, order
confirmations and other documents concerning the goods in

question.

The Defendants each bear haf of the costs of the lawsuit.

Exhibit 4
Page 3 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 25 of 33

_4-

Vill Because of the costs, the judgment is provisionally enforceable,
respectively, on provision of a security in the amount of 110 % of
the amount to be enforced and. as for the rest. on provision of a

security in the amount of € 100,000.00, respectively.
FACTS OF THE CASE:

According to its pleadings, the Plaintiff is the second-largest sports article
manufacturer of the world. For years now it has marked its sports shoes and sports
textiles with its three-stripes marking. In the sports textiles, the three parallel stripes
are usually provided in longitudinal direction along the side seams, wherein regularly

the colour of the stripes is in contrast to the basic colour of the article.

The Plaintiff is the owner of a series of registered trademarks. While device mark No.
944623 shows the arrangement of three slanting siripes on a sports shoe, the device
marks Nos. 414034, 414035 and 414037 refer to the arrangement of the three stripes

on a sports suit, a sport jacket as well as on sports trousers.

The Defendants which belong to the Nike group also distribute sports clothing on a
large scale. On April 5, 2004, on the Plaintiffs pert the pair of green sports trousers
depicted under item IV. in the operative part of this judgment was bought in a shop
operated directly by the Defendant to 2., which in the section of the side seams
respectively has two parallel-extending white stripes of the same width which are
separated by a green stripe of the same width, on the front side of the trousers,

below the waistband, there is affixed the Nike marking, the Nike tick, in silver colour.

On April 10, 2004, on the Plaintiffs part the sports textiles depicted under item I. in
the operative part of this judgment were bought, which are, on the one hand, a pair of
long-legged sports trousers also being provided at the side seams, respectively with
two parallel-extending white stripes of the same width on a dark-blue ground; the
Nike tick is embroidered on the front side below ‘he waistband. The second article is
a pair of short sports trousers in grey colour which, at the side seams, respectively,

also has two white longitudinal stripes of the same width between which the grey

Exhibit 4
Page 4 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 26 of 33

-5-

fabric of the trousers appears as a further longitudinal stripe of the same width; the
Nike tick is embroidered in silver colour on the front side laterally above the one leg

opening.

The Plaintiff regards its get-up rights in the three-stripes marking for sports textiles as
well as its trademark rights for sports clothing and casual wear as being infringed

thereby.
The Plaintiff requests:

| The Defendant to 1. shall be prohibited, under penalty of an
administrative fine of up to € 250,000.00 to be assessed by the
Court for each case of infringement, as a substitute arrest, or of

an arrest of up to 6 months, from

offering articles of clothing as depicted below, or putting
them on the market or ¢tocking them for these purposes,
and/or from importing or exporting them as well as from
advertising them, which are provided with a stripes marking

as depicted:
(illustrations of articles of clothing)

il. It is found that the Defendant to 1. is obligated to compensate the
Plaintiff for all damages which have resulted for the Plaintiff from
acts under item |. since April 10, 2004, and still will result

therefrom.

Alternatively: It is found that the Defendant to 1. is obligated to
hand over to the Plaintiff the unjustified enrichment obtained by

acts under item I. since April 10, 2004.

ill The Defendant to 1. is sentenced to provide information to the
Plaintiff on the extent of acts under item 1. made by it since April

10, 2004, in particular to provide information on the origin and the

Exhibit 4
Page 5 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 27 of 33

-6-

channels of distribution of said goods (the name and address of
the manufacturer, of the supplier and other previous possessors
of the goods, the commercial ourchasers or the customers) as
well as on the quantity of the goods manufactured, delivered,
received or ordered, furthermore to provide information and
render account on the turnovers obtained with said goods (Euro
and number of items) as well as on the profit made by the
distribution thereof, by itemizing the individual cost factors, and on
the advertising made (advertising media, circulation figures, dates
of publication, circulation areas), as well as to present purchase
vouchers and sales vouchers, invoices, delivery notes, order
confirmations and other documents concerning the goods in

question.

iV. The Defendant to 2. shall be prohibited, under penalty of an
administrative fine of up to € 250,000.00 to be assessed by the
Court for each case of infringement, as a substitute arrest, or of

an arrest of up to 6 months, from

offering articles of clothing as depicted below, or putting
them on the market or stocking them for these purposes,
and/or from importing o: exporting them as well as from

advertising them, which are provided with a stripes marking

as shown:
(illustrations of articles of clothing)

V. It is found that the Defendant fo 2. is obligated to compensate the
Plaintiff for all damages which have resulted for the Plaintiff from

acts under item I. since April 5, 2004, and still will result

therefrom.

Alternatively: It is found that the Defendant to 2. is obligated io
hand over to the Plaintiff the unjustified enrichment obtained by

acts under item I. since April 10, 2004.

Exhibit 4
Page 6 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 28 of 33

-7-

VI. The Defendant to 2. is sentenced to provide information to the
Plaintiff on the extent of acts under item 1. made by it since April
5, 2004, in particular to provide information on the origin and the
channels of distribution of said goods (the name and address of
the manufacturer, of the supplier and other previous possessors
of the goods, the commercial purchasers or the customers) as
well as on the quantity of the goods manufactured, delivered,
received or ordered, furthermore to provide information and
render account on the turnovers obtained with said goods (Euro
and number of items) as we!) as on the profit made by the
distribution thereof, by itemizing the individual cost factors, and on
the advertising made (advertisirig media, circulation figures, dates
of publication, circulation areas), as well as to submit purchase
vouchers and sales vouchers, invoices, delivery notes, order
confirmations and other documents concerning the goods in

question.
The Defendants request

to dismiss the action.

The Defendants claim that they did not use the stripes get-up like a trademark but as
a purely ornamental element; for the purpose o: the trademark-like description of
origin and attribution of their products to their house, the own trademarks of the

Defendants were affixed at a prominent position.

Moreover, the attacked design forms would differ substantially from the three-stripes
trademark of the Plaintiff. Finally, by the general use of such decorative two stripes
designs the concerned public was used to their existence on the products of different
manufacturers: therefore, the three-stripes trademark of the Plaintiff would neither be
impaired by such designs, nor would any characterizing force be attached in this

respect to a two-stripes design.

Exhibit 4
Page 7 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 29 of 33

-8-

With respect to the further details of the position of the stage of the proceedings,
reference is made to the content of the briefs exchanged between the parties and to

the documents submitted by the parties.
REASONS FOR THE DECISION:

The action is founded.

The Plaintiff can demand from the Defendants tha’ they stop their infringing actions,
furnish information and ascertain the damages according to the operative part, as the
stripes markings at issue infringe the trademark rights of the Plaintiff, Sections 4, 14
Subsection 2 No. 2 Trademark Act. Pursuant to these rules, third parties shall be
prohibited from using in the course of trade without the consent of the owner of the
trademark any sign where, because of its identity with, or similarity to, the trademark
and the identity or similarity of the goods or services covered by the trademark and
the sign, there exists a likelihood of confusion on the part of the public, which
includes the likelihood of the sign and the trademark becoming associated in the

mind of the public. These conditions are met here.

With respect to quite similar two-stripes designs on sports textiles and casual wear
as attacked in the present case by the Plaintiff, tere exist already decisions of the
Federal Court of Justice (judgment of July 6, 200U, in WRP 2001, 41 et seq.) and of
the Higher Regional Court Munich (judgment of July 26, 2001, in GRUR-RR 2001,
303 et seq.), according to which such a design is an infringement of the device marks
protected for the Plaintiff. The Division sees no cause to deviate from said decisions

in the present case.

According thereto, the question of the danger of confusion under the trademark law is
to be checked by taking into account all circumstances of the individual case
completely, wherein there is a correlation between the factors to be taken into
account, in particular the identity or similarity of the goods in question, the identity or
similarity of the trademarks as well as the distinctive force of the Plaintiffs markings.

According thereto, in particular a minor degree ot similarity of the trademarks can be

Exhibit 4
Page 8 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 30 of 33

-9-

made up for by a higher degree of similarity of the goods and/or a special notoriety of

the older trademark in the market.

In the present case, the goods of the Plaintiffs trademarks to be taken into account

and the attacked articles of clothing are identical goods.

Together with the Higher Regional Court Munich, the Division affirms the increased
characterizing force of the Plaintiffs trademarks with a corresponding scope of

protection. With respect thereto, the Higher Regional Court Munich stated in its

judgment:

"The extremely high notoriety of the three-stripes marking of adidas is a
generally known fact. For years now, everyone has come across articles of
sports clothing and casual wear with the three-stripes marking of the Plaintiff
quite often in the streets and in an especially enduring manner within the scope
of TV transmissions of German as well as international sports events. In the
streets, the stripes marking of the Plaintiff is a familiar appearance, and many of
the German and foreign top sportsmen have deen wearing the articles of sports
clothing of the Plaintiff with the stripes marking for decades, for instance a
whole line of Federal League football teams, among them FC Bayern Munchen,
but also the German national football team and - as strikes the eye in TV
transmissions - also some foreign national teams. Also German and foreign top
sportsmen in other sports categories, e.g. athletics and tennis, appear in adidas
clothing with the stripes marking. Above all also by such TV transmissions the
three-stripes marking of the Plaintiff has become known world-wide. Also in the
sports section of the daily newspapers very often clothing articles with the
marking of the Plaintiff can be seen. Furthermore, publications in print media ...
which deal! with the Plaintiff and its stripes marking contribute to the high degree
of notoriety of the Plaintiff's marking. As the Plaintiff is still selling high numbers
of articles of sports clothing and owns corresponding market shares, the media
interest in the three-stripes marking and thus its presence in the media

continues to be high - as everybody can notice.

Behean Declaration

Exhibit 4
Page 9 of 12
Case 3:05-cv-00541-BR Document 32 _ Filed 07/25/05 Page 31 of 33

-10-

The question of the notoriety of the Plaintiffs marking encountered by everyone
can be judged by the Court due to its own knowledge of the facts on the subject
without an interrogation of the concerned pub'ic. Of course it can be found that
the concerned public knows the three-stripes marking of the Plaintiff
extraordinarily well. Hence, a correspondingly high degree of adoption in the
circles of the concerned public has to be taken as a basis. The high degree of
notoriety of the Plaintiffs marking is general knowledge and therefore is a fact
obvious to the Court with no need for a proof pursuant to Section 291 Code of
Civil Procedure (BGH, GRUR 1960, 126, 127 et seq. - Sternbild).

Thus, the Plaintiffs trademarks have a high cistinctive force being based on an

enormously high degree of notoriety.”

When checking the danger of confusion under trademark law, attention has to be
paid to the respective impression as a whole of the opposing trademarks. For the
question of the correlation of the three essential factors in judging the danger of
confusion under trademark law, the distinctive force of the Plaintiff's trademark and
similarity of goods are present in an enormous invensity so that a comparatively low

degree of similarity of the trademarks can be made up for.

The trademark similarity is determined by the impression as a whole of the collision
trademarks, wherein the respective impression as a whole of the opposing
trademarks has to be ascertained. Said impression as a whole of the colliding
trademarks can be described such that the two markings are stripes with contrasting
colours and extending in parallel along the side seams of the articles of clothing
which only differ in the number of the stripes, as the Plaintiff's marking has three
stripes and the attacked forms of use have two stripes. The fact that the opposing
markings are quite similar and only differ in one point, namely in the number of the
stripes, leads to the fact that also the degree of the trademark similarity cannot be

judged as being low.

Together with the Higher Regional Court Munich, the Division proceeds from the fact
that the intelligent average consumer to which attention is to be paid will believe to

easier recognize again in another marking quite well-known markings remembered

Exhibit 4
Page 10 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 Filed 07/25/05 Page 32 of 33

-11-

by him, wherein it has to be taken into account that also said average consumer has
to rely on the incomplete picture he bears in mind, as the colliding markings normally
will not come across him next to each other. It has also to be considered that his
degree of attention can differ enormously depending on the. kind of the goods in
question. Therefore, by taking into account the correlation of the decisive factors of
the danger of confusion, for the concerned public which comes across the attacked

markings the danger of confusions of the colliding trademarks has to be affirmed.

Moreover, it has to be assumed that the concerned public will recognize the two-
stripes get-up in dispute as a marking and not only as a purely ornamental element.
Because of the high degree of notoriety of the Plaintiffs markings and of the
trademark practice of the Plaintiff, the concerned public is used to the fact to see an
indication to origin in the get-up being of interest here of contrasting stripes along the
side seams of articles of sports clothing, so that rormally such a get-up is regarded

by the concerned public as an indication to origin.

This understanding of the concerned public is net changed by the fact that on the
textiles in dispute here also another famous marking is affixed, namely the Nike tick.
In any case, said mark is attached on the grey shorts in a more discreet manner and
the tick also optically comes second on the two long-legged sports trousers
compared to the striking two-stripes get-up. Since said two-stripes get-up reminds
the concerned public enormously of the marking used and made famous by the
Plaintiff, the concerned public will assume a cac peration of the owners of the two
markings identified by it. The fact that it recognizes the tick as the trademark of Nike
does not necessarily lead to the fact that it will now no longer associate such a multi-
stripes get up - as used in the present case and as understood by it as an indication

to the Plaintiff - with the Plaintiff and will see it as a purely ornamental element.

In any case, the Defendants have to be accused of negligence. Statements on the
part of the counsel of the Defendants on the occasion of the court hearing of January
20, 2005, were interpreted by the members of the Division such that on the part of
the Defendants the get-up in dispute was chosen intentionally for the present textiles

in imnitation of the marking used by the Plaintiff with the aim to test how close you can

Exhibit 4
Page 11 of 12
Behean Declaration
Case 3:05-cv-00541-BR Document 32 _ Filed 07/25/05 Page 33 of 33

-12-

get to the Plaintiffs marking and at the same time to cause an impairment of the

Plaintiffs marking.

For the calculation of the damages resulting from the unlawful use of a mark being
too similar which have to be paid by the Defendants pursuant to Section 14
Subsection 6 Trademark Act, the Plaintiff requires the requested information which,
consequently, the Defendants have to furnish to it pursuant to Section 242 Civil
Code.

The additional decisions result from Sections 91, 799 Code of Civil Procedure.

Value of the matter in dispute: € 1,000,000.00

 

(Bding) (Stankiewicz-Schetzka)

Exhibit 4
Page 12 of 12
Behean Declaration
